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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF OREGON




          CATIE ROE,

                     Plaintiff,                                                      COMPLAlNT

                                                          (Violation of Title VII, Violation of ORS
                                                                   659A.030 - Sex Discrimination,
          SYNERGY JOINT VENTURE, LLC,dba                        Intentional Infliction of Emotional
          Gold's Gym;BETTER BODIES, INC.;                 Distress, Assault and Battery, Wrongful
          RIVERSIDE FITNESS,LLC;                                                          Discharge)
          SYNERGY FITNESS, LLC; SYNERGY
          GYM GROUP, LLC (New Mexico);                                       Demand for Jury Trial
          SYNERGY GYM GROUP, LLC
          (Oregon); SYNERGY GYM GROUP,
          LLC (Washington); SYNERGY HEALTH
          CLUBS NW,LLC; and TROY
          FINFROCK,

                     Defendants.

                                   JURISDICTIONAL ALLEGATIONS



     '\      These claims arise under the Civil Rights Act of 1964, 42 USC §2OOOe et seq, as
 A
  \s\
c\    amended (TitIe VII), and state statutory and common laws. This Court has jurisdiction over the
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federal claims under 42 USC 92000e-5(f)(3) and 42 USC $1988. This Court has jurisdictioil

aver the state law claims pursuant to the doctrine of supplemental ji~risdiction,28 USC 6 I367(a).



       Costs and attorney fees may be awarded pursuant to the Civil Rights Act as amended, 42

USC $1988, ORS 8659A.885, and FRCP 54(d).

                           ALLEGATIONS OF PARTY STATUS



       At all material times, Plaintiff Catie Roe ("Catie Roe") was and is a feinale citizerl of the

United States, residing in Lane County, Oregon.

                                                4.

       At ail material times, Defendant Synergy Joint Venture, LLC was a limited liability

company owned and operated by Troy Finfrock and doing business in Lane County, Oregon as

Gold's Gym.

                                                5.

       At all material times, Defendant Better Bodies, Inc. was an Oregon corporation owned

and operated by Troy Finfiock.

                                                6.

       At all material times, Defendant Riverside Fitness, LLC was an Oregon Limited Liability

Company owned and operated by Troy Finfiock.



       At all material times, Defendant Synergy Fitness, LLC was      a11   Oregon Limited Liability

Company owned and operated by Troy Finfrock.




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                                                   8.

        At all material times, a first Defendant Synergy Gym Group, LLC was an Oregon

Limited Liability Company owned and operated by Troy Finfrock.

                                                  9.

        At all materia1 times, a second Defendant Synergy Gym Group, LLC was a New Mexico

Limited Liability Company owned and operated by Troy Finfrock.

                                                  10.

        At all material times, a third Defendant Synergy Gym Group, LLC was a Washington

limited liability company owned and operated by Troy Finfrock.

                                                  11.

       At all material times, Defendant Synergy Health CIubs, NW, LLC was an Oregon limited

liability company owned and operated by Troy Finfrock.

                                                  12.

       At a11 material times, Defendant Troy Finfiock owned the named LLC's and corporations.

Troy Finfiock was the principal decision maker regarding the interrelated operations, and was

the central controller of the labor reIations of all entities. Those entities were his agents.

                                                  13.

       At all material times, all of the above-named Defendants had interrelated operations,

shared common management, and maintained centralized control of labor relations. They were

all owned by Defendant Troy Finfrock. They operated as a single employer of Catie Roe. They

are referred to in this Complaint collectively as "Defendants."

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                                   ALLEGATIONS OF FACT



        Catie Roe was hired by Gold's Gym in Eugene as a Member Service and Child Care

attendant in March 2006. At that h e , Casey Lynn was the General Manager, Johnny Escamilla

was the District General Manager, and Rene Fernandez was the Regional Operations Manager.



       Throughout her employment, Catie Roe was subjected to unwanted and offensive sexual

comments and sexual advances fiom co-workers and management employees. These comments

and advances were open and notorious and directed toward her and other female employees and

continued on a nearly daily basis throughout her employment.

                                                 16.

       Manager Lynn regularly made sexual jokes and suggested that he and Catie Roe should

have a sexual relationship. His actions included but were not limited to:

        a.     When she asked Manager Lynn if she could take a break, he told Catie Roe "you
        can take a break on one condition; you get on your knees and tell me you love me."

        b.      When she was bending over to pick soniething up, Manager Lynn stuck his pelvis
        and genitals in her face and said to Catie Roe, "while you're down there..." insinuating
        that she should perform a sexual act.

       c.      On several occasions Manager Lynn snuck up behind Catie Roe and rubbed his
       pelvis and genitals against her bottom.

       d.     When she arrived at work with a new hairstyle, Manager Lynn told Catie Roe that
       she had "fitck me" hair.



       Catie Roe objected to Manager Lynn's actions.            She told him that he was acting

inappropriately and that she did not deserve to be treated like that.




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                                              18.

       Catie Roe complained to Manager Escamilla about Manager Lynn's behavior. She told

Manager Escamilla that Manager Lynn continuaIly made sexual advances toward her, made

inappropriate jokes, and that she was afraid to be at the gym alone with Manager Lynn. Manager

Eseainilla responded by saying, "it is not that big of a deal." The manner in which he responded

indicated to Catie Roe that he thought she was overreacting. No investigation was done and no

corrective action was taken.

                                              19.

       In or about April 2006, Manaser Lynn resigned from his employment.

                                              20.

       In or about April 2006, Catie Roe became the Operations Manager.

                                              21.

       At the Eugene location, all of the male managers were paid on a salaried basis. As the

Operations Manager, Catie Roe was paid by the hour and paid less than the male managers.

                                              22.

       When Catie Roe was the Operations Manager, Manager Esca~niIlawas her direct

supervisor. Manager Escarnilla yelled and swore at Catie Roe and the other female employees.

He regularly treated Catie Roe and other female empIoyees with disrespect. He used degrading

nicknames to refer to female employees. He called Catie Roe, "Catie 'Ho," "numbskull," and

"dumb ass."

                                             23.

       In or about mid-May 2006, Manager EscamiIla and Catie Roe started sharing an office.

When she entered the shared office, Manager Escamilla regularIy greeted Catie Roe by saying,




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"Why the h c k are you in my office!" Sometimes he would taunt her by not letting her in the

office, preventing her fiom getting her work done. Manager EscarnilIa frequently locked the

office door, preventing Catie Roe from having access to the information she needed on her work

computer. Manager Escamillats actions made it difficdt for Catie Roe to perfom her job.



       One of Catie Roe's duties included hiring for front desk positions. Manager Escamilla

instructed Catie Roe to hired only cute females. Catie Roe objected and said that she would hirc

the most reliable and professional person and refused to focus her applicant search only on

personal appearance or gender. In or about late April 2006, Manager Escanlilla handed Catie

Roe a resume and said, "You have to call this girl, she has great tits." Manager Escamilla

interviewed the applicant himself and hired her,

                                                  25.

       Manager Escamilla regularly talked to Catie Roe about sex, used sexually-charged words,

made comments about her body, and touched her in an offensive and sexual manner. His actions

included but were not limited to the following:

       a.       He told Catie Roe, "You'd be happy if you got Iaid, too."

       b.     On several occasions, he snuck up behind Catie Roe, gazed his hips against her
       bottom and got so close to Catie Roe that she could feel his penis against her bottom.
       Catie Roe told him to stop, that his actions were inappropriate and offensive to her.

       c.       When Catie Roe arrived at work, he looked her up and down and said, "Damn!
       You look nice," and announced to the other employees around us "Catie has a bootie on
       her! "

       d.      He remarked ta coworkers that the gym was full of "real assholes and fake
       boobs.''

       e.       He mocked a female front desk enlployee and referred to her as a "fircking dyke."

       f.       While Catie Roe was working, he declared "Catie, I want to eat you out!"


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                                               26.

       Both Manager Fernandez and Manager Escanlilla regularly grabbed Catie Roc's arm and

pulled her thumb back toward her wrist. Catie Roe complained that the action caused her pain

and told them to stop. They both ignored her requests and continued to engage in the painful

behavior.    When Catie Roe complained that he was hurting her, Manager EscamilIa told

responded, "If it hurts, you're a pussy!" Both Manager Fernandez and Manager Escamilla used

this painful hold on other female employees as well.

                                               27.

       Beginning in or about April 2006, Catie Roe complained to Lisa Schor, the Operations

Manager for the Springfield location, about the way she was being treated by the male managers.

Ms. Schor was Manager Fernandez' assistant and performed Human Resources work for the

gyms in Springfield and Eugene. Catie Roe recounted the way Manager Lynn, Manager

Escamilla and Manager Fernandez treated her and other females at the Eugene location. Ms.

Schor repeatedly told Catie Roe that there was nothing she could do to help her.

                                               28.

       Catie Roe complained to Manager EscarniUa about Manager Fernandez's hostile and

sexually degrading behavior toward her. Shortly thereafter, Manager Escamilla started acting

increasingly hostile toward Catie Roe.

                                               29.

       In or about mid-June 2006, Manager Escarnilla instructed Catie Roe to pick lum up at thc

Portland airport. He was returning from a visit to Defendants' facility in New Mexico. During

the drive to Eugene, Manager Esca~nillatold Catie Rae that he "naiIed the slit out of a front desk




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girl in Albuquerque," indicating that he had had sex with an employee. He also threatened her

not to tell a "fucking person" about this.

                                                30,

       Manager Fernandez regularly spoke with Catie Roe in a hostile manner and used

obscenities and made sexually charged comments.

                                                31.

       During the first two weeks of July, Manager Fernandez was extremely hostile towards

Catie Roe at work. He yelled at her about other people in the gym not doing their jobs. He

spoke to her using a very loud and abrasive tone and used profanity repeatedly. He yelled at her

in front of co-workers and gym members. She objected to the way he was treating her and

indicated that his conduct was inappropriate.



       The next day, Catie Roe received a write up from Manager Femandez for leaving work

early and for being insubordinate. Catie Roe left work early due to a physical condition that

prevented her from working.        When she did so she followed policy and informed other

managers. Male managers who left work early for emergency reasons were not written up.

                                                33.

       In or about mid August 2006, Catie Roe called the Oregon Bureau of Labor and

Industries (BOLI) and inquired about the laws reIating to employment of minors and the

maximum hours that minors could work. Defendants had some minor employees working at the

front desk who worked over forty (40) hours per week. Manager Escamilla had approved the

number of hours. In the middle of August 2006, Catie Roe told Manages Femandez that she had

called BOLI and that to abide by the law, minors could no longer be scheduled to start work at




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4:00 am when the fall school semester started. He was very upset and said, "Why did you call

the labor board?!"



        On or about the morning of August 30, 2006, Catie Roe called BOLI and reported that

she was experiencing sexual harassment at work and inquired about her legal rights.



        On or about the afternoon of August 30, 2006, Manager Fernandez told Catie Roe that

they were "moving people around," and that Gold's Gym was replacing her as Operations

Manager. He said that if there were a ii-ont desk position (a demotion), they might offer it to her,

but there was none available. Catie Roe asked if she had done something wrong. Manager

Fernandez said no, it was just what Defendant Finfrock wanted.

                                                36.

        Catie Roe timely filed a complaint of discrimination and retaliation with the Equal

Employment Opportunities Commission (EEOC) and Oregon Bureau of Labor and Industries

(BOLI). A substantial evidence finding in her favor was issued by BOLI. BOLI and EEOC

issued Notices of the Right to Sue and this Complaint is timely filed.

                                   FIRST CLAIM FOR IRIEEIEF
                                      (Violation of Title VII)

        For her First Claim for Relief against all Defendants, Plaintiff Catie Roe alleges as

follows:

                                               37.

        Realleges the allegations set forth in paragraphs 1 through 36 and incorporates them by

reference as if fully set forth herein.




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                                                38.

       Defendants discriminated against Catie Roe in the terms, conditions and privileges of her

employment and created, maintained and condoned a hostile work environment, all because of

her sex in violation of 42 USC §2000e, et seq. The comments and actions constituting the hostile

work enviranment were severe or pervasive and interfered with Catie Roe's work.

                                                39.

       Defendants retaliated against Catie Roe because she opposed, reported, and complained

about sex discrimination in her employment, in violation of 42 USC 92000e, et seq.

                                               40.

       As a result of the actions of Defendants, Catie Roe has suffered economic damages,

including lost wages along with prejudgment interest thereon. These losses are continuing.

                                               41.

       As a result of the actions of Defendants, Catie Roe has suffered ~ioneconornicdamages,

including but not limited to emotional distress, anxiety, fear, humiliation, stress, depression and

loss of enjoyment in life. These damages are continuing.

                                               42.

       The actions of Defendants as described herein were intentional or taken in reckless

disregard of Catie Roe's rights and punitive damages in anioimt to bc determined by the jury

should be awarded to punish Defendants and to deter them and others from acting in a similar

manner in the future.

                                               43.

       As a further result of the actions of Defendants, Catie Roe is cntitled to recover her

reasonabIe attorney fees and costs incurred herein pursuant to 42 USC 5 1988.




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                                SECOND CLAIM FOR RELIEF
                        (Violation of ORS 659A.030, Sex Discrimination)
                                    (Against All Defendants)

       For her Second Claim for ReIief against all Defendants, Plaintiff Catie Roe alleges as

follows:



       Realleges the allegations set forth in paragraphs 1 through 36 and incorporates them by

reference as if hlly set forth herein.

                                              45.

       Defendants discriminated against Catie Roe in the terms, conditions and privileges of her

employment and created, maintained and condoned a hostile work environment, all beca~lseof

her sex in violation of O W 659A.030. The comments and actions constituting the hostile work

environment were severe or pervasive and interfered with Catie Roe's work.

                                              46.

       Defendants retaliated against Catie Roe because she opposed, reported, and complained

about sex discrimination in her employment, in violatian of ORS G59A.030.

                                              47.

       As a result of the actions of Defendants, Catie Roe has suffered economic damages,

including lost wages along with prejudgment interest thereon. These Iosses are continuing.

                                              48.

       As a hrther result of the actions of Defendants, Catie Roe is entitled to recover her

reasonable attorney fees and costs incurred herein pursuant to ORS 659A.885.




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                                   THIRD CLAIM FOR RELIEF
                                      (Wrongful Discharge)
                                     (Against All Defendants)

        For her Third Claim for Relief against a11 Defendants, Plaintiff Catie Roe alleges as

follows:



        Realleges the allegations set forth in paragraphs 1 through 36 and incorporates them by

reference as if fully set forth herein.

                                                SO.

        Defendants discharged Catie Roe because she pursued a right related to einployment and

because she fulfiIled a societal obligation or public duty by objecting to and resisting sexual

harassment and discrimination in her workplace, and by calling the labor board to ensure

compIiance with labor laws.

                                               51.

       As a result of the actions of Defendants, Catie Roe has suffered economic damages,

iiicluding lost wages along with prejudgment interest thereon. These losses are continuing.

                                               52.

       As a result of the actions of Defendants, Catie Roe has suffered noneconomic damages,

including but not limited to emotional distress, anxiety, fear, humiliation, stress, depression and

loss of enjoyment in life. These damages are continuing.

                                               53.

       The actions of Defendants as described herein were intentional or taken in reckless

disregard of Catie Roe's rights and punitive damages in amount to be determined by the jury




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should be awarded to punish Defendants and to deter them and others from acting in a similar

manner in the future.

                                 FOURTH CLAIM FOR RELIEF
                           (Intentional Infliction of Emotional Distress)
                                     (Against All Defendants)

        For her Fourth Claim for Relief against all Defendants, PIaintiff Catie Roe alleges as

follows:

                                                54.

        Realleges the allegations set forth in paragraphs 1 through 36 and incorporates them by

reference as if fulIy set forth herein.

                                                55.

        Defendants' acts and omissions described above were taken with intent to cause Catie

Roe severe enlotional distress or with knowledge that their acts and omissions were substantially

certain to cause Catie Roe severe emotional distress.



       Defendants' acts and omissions described above constitute an extraordinary transgression

of the bounds of socially tolerable conduct.

                                                57.

       As a result of the actions of Defendants, Catie Roe has suffered economic damages,

including lost wages along with prejudgment interest thereon. These losses are continuing.

                                                58.

       As a. result of the actions of Defendants, Catie Roe has suffered noneconomic damages,

including but not Iimited to emotional distress, anxiety, fear, humiliation, and stress. These

damages are continuing.




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        The actions of Defendants as described herein were intentional or taken in reckless

disregard of Catie Roe's rights and punitive damages in amount to be detennined by the jury

should be awarded to punish Defendants and to deter them and others from acting in a similar

manner in the future.

                                  FIFTH CLAIM FOR RELIEF
                                      (Assault & Battery)
                                    (Against All Defendants)

        For her Fifth Claim for Relief against all Defendants, Plaintiff Catie Roe alleges as

follows:

                                                60.

        ReaIleges the alIegations set forth in paragraphs 1 through 36 and incorporates them by

reference as if hlly set forth herein.

                                                61.

       By the acts described above, Defendants knowingly and intentionally subjected Catie Roe

to injurious physical contact to which she did not consent.

                                               62.

       By the acts described above, Defendants knowingly and intentionally placed Catie Roe in

reasonable fear of imminent bodily harm.

                                               63.

       The acts described herein were offensive to Catie Roe and would be offensive to any

reasonable person.

                                               64.

       The actions described herein caused Catie Roe to fear, reasonably, for her physical safety.




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       As a result of the actions of Defendants, Catie Roe has suffered noneconomic damages,

including but not limited to emotional distress, anxiety, fear, hun~iliation,and strcss. Thesc

damages are continuing.



       The actions of Defendants as described herein were intentional or taken in reckless

disregard of Catie Roe's rights and punitive damages in amount to be determined by the jury

should be awarded to punish Defendants and to deter them and others from acting in a similar

manner in the future.

WHEREFORE Catie Roe prays for judgment against Defendants as follows:

       1.      Economic damages in the form of lost wages and, and prejudgncnt interest in an
               amount to be determined at trial;

       2.      Compensatory damages in an amount to be determined at trial;

       3.      Her reasonable attorney fees and costs incurred herein;

       4.      Punitive damages in an amount to be determined at trial; and

       5.      Such other relief as the Court deems just and equitable.

                         rtt
       DATED this       I? day of January, 2008.

                                     CHANT1 & MIDDLETON, P.C.




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